Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 1 of
                                     19
                                                                         1




  1               IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO
  2
      Civil Action No. 1:16-cv-03079-MSK-MJW
  3
      ESTATE OF NATE CARRIGAN,
  4   JOHN CARRIGAN, MELISSA CARRIGAN,
      and KOLBY MARTIN,
  5
      Plaintiffs,
  6
      v.
  7
      PARK COUNTY SHERIFF'S OFFICE,
  8   SHERIFF FRED WEGENER, in his
      official and individual capacity,
  9   and MARK HANCOCK, in his official
      and individual capacity
 10
      Defendants.
 11   ______________________________________________________

 12   DEPOSITION OF:  FREDRICK WILLIAM WEGENER, III
                      June 8, 2017
 13   ______________________________________________________

 14                  PURSUANT TO NOTICE, the deposition of
      FREDRICK WILLIAM WEGENER, III was taken on behalf of the
 15   Plaintiffs at 1640 Grant Street, Suite 150, Denver,
      Colorado 80203, on June 8, 2017, at 9:15 a.m., before
 16   Shauna T. Dietel, Registered Professional Reporter and
      Notary Public within Colorado.
 17

 18

 19

 20

 21

 22

 23

 24         Hunter + Geist, Inc.
 25          303.832.5966          1900 Grant Street, Suite 1025              www.huntergeist.com
             800.525.8490          Denver, CO 80203                           scheduling@huntergeist.com


                                   Your Partner in Making the Record

                                          EXHIBIT 4
                       Court Reporting, Legal Videography, and Videoconferencing
 Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 2 of
                                      19
                               FREDRICK WILLIAM WEGENER, III - 6/8/2017
                    Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                            37                                                                39
 1        Q (BY MR. ELKUS) Okay. Is that it, in your               1   your tenure with the Sheriff's Department, and
 2   opinion, the only high risk to officer safety would be an     2   specifically while you were Sheriff, what training did the
 3   individual that poses -- that -- that you knew had a          3   Park County Sheriff's Office provide to its sheriff
 4   weapon in the residence?                                      4   deputies in evicting someone that poses a high risk to
 5        A No. You could also look at criminal history.           5   officer safety and/or the public?
 6   Something in his background.                                  6           MR. SCHIMBERG: I'm sorry. Could you read
 7        Q Okay. So with that understanding, was there a          7   that, please. Sorry.
 8   separate process -- again, during your tenure as Sheriff,     8           (The court reporter read the question as
 9   was there a separate process in evicting a person that        9   follows: "Now, what training -- and, again, during your
10   posed a high risk to officer safety in doing evictions?      10   tenure with the Sheriff's Department, and specifically
11           MR. SCHIMBERG: Form.                                 11   while you were Sheriff, what training did the Park County
12           Go ahead.                                            12   Sheriff's Office provide to its sheriff deputies in
13        A Well, yeah. I mean, you try to -- just as we'd        13   evicting someone that poses a high risk to officer safety
14   done with Mr. Wirth, you try to contact him, try and see     14   and/or the public?")
15   what -- you know, why he wouldn't get out. I know in 2014    15       A You know, other than -- you mean officer
16   they -- there was going to be a protest, so we wanted to     16   safety --
17   make sure that if we could, we can get ahold and find out    17       Q (BY MR. ELKUS) Well, I'm asking --
18   is there a way we can kind of get everybody to settle down   18       A -- patrol?
19   and -- and not create a scene, but they can have their       19       Q -- was there a -- did you provide -- while you
20   protest or whatnot, but we still need to have him leave      20   were the sheriff, did you provide specific training to
21   the residence.                                               21   your sheriff deputies on how to evict someone that posed a
22           In 2014, he agreed and left the residence.           22   high risk to officer safety and/or the public?
23        Q (BY MR. ELKUS) Okay. So in 2014, Mr. Wirth            23       A Specifically to that, no.
24   left his residence -- residence peacefully, is that fair     24       Q Okay.
25   to say?                                                      25           MR. ELKUS: Let's go off the record here.

                                                            38                                                                40
 1       A He did.                                                 1           (A recess was taken from 9:59 a.m. until
 2       Q And what was the process by which the Sheriff's         2   10:19 a.m.)
 3   Department utilized in getting Mr. Wirth to leave his         3       Q (BY MR. ELKUS) Now, based on your tenure with
 4   residence peacefully in 2014?                                 4   the Park County Sheriff's Office, other than Mr. Wirth,
 5       A They talked with both him and the -- another            5   have you had to deal with evicting a person that posed a
 6   gentleman who was leading the "Foreclosure Resistance," or    6   high risk to officer safety and/or the public?
 7   I don't know what it's called. I think that's what it was     7       A On an eviction?
 8   called, Colorado Foreclosure Resistance, and talking to       8       Q Yes.
 9   them about their protest.                                     9       A We had a gentleman who -- I want to say
10       Q And -- and who from the Sheriff's Department           10   probably two thousand -- I may get this wrong.
11   was able to communicate with Mr. Wirth at that period of     11           We had a gentleman earlier that was getting --
12   time, in 2014, again, to leave the residence peacefully?     12   that the IRS was coming to him because of tax evasion. So
13       A Wells Tonjas I think was the sergeant at that          13   he started his house on fire and was shooting at the
14   time.                                                        14   deputies. He eventually killed himself.
15       Q So correct me if I'm wrong, Sheriff, but it            15       Q And you don't recall what year that was?
16   sounds like communication with Mr. Wirth was able to         16       A That's what I was trying to think.
17   resolve the situation with him to allow him to leave the     17       Q Was that while you were sheriff?
18   residence; is that fair to say?                              18       A Yes. Yes.
19       A Correct.                                               19       Q And who was the deputy that was being shot at?
20           MR. SCHIMBERG: Object to the form.                   20       A Deputies. One of them was -- I think -- well,
21       Q (BY MR. ELKUS) And at that point in time,              21   one of them was Hancock. I know Cam Hancock was one of
22   there was no need to breach the residence or to use force    22   them. I'm trying to remember the other deputies that were
23   to remove, is that fair to say?                              23   there. I'm going to guess this was probably '05, '06.
24       A Yeah. He left. I mean, he was already gone.            24           MR. SCHIMBERG: Aren't we glad we tell your
25       Q Okay. Now, what training -- and, again, during         25   clients don't guess? I'm teasing, Sheriff.

                                                                                                            10 (Pages 37 to 40)

                                           Hunter + Geist, Inc.
                                             EXHIBIT
                         scheduling@huntergeist.com    4
                                                    * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 3 of
                                      19
                               FREDRICK WILLIAM WEGENER, III - 6/8/2017
                    Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                            41                                                                43
 1       A I -- I just -- I just -- I can't remember               1   -- then all of a sudden he torched the house, so then
 2   exactly.                                                      2   there were other issues that had to be dealt with.
 3           MR. SCHIMBERG: I'm teasing you.                       3   So . . .
 4       Q (BY MR. ELKUS) Now, I think you stated that             4        Q Do you know whether or not, when the deputies
 5   the IRS was coming to his home on a -- because there was a    5   arrived, that's when the suspect began firing at the
 6   tax evasion issue?                                            6   sheriff's deputies?
 7       A Yeah.                                                   7        A Yes.
 8       Q So was he being evicted?                                8        Q So right upon the arrival, he started shooting
 9       A Yes.                                                    9   at the sheriff's deputies?
10       Q Okay. And was Park County the agency that was          10        A That's correct.
11   charged with getting him evicted?                            11        Q Okay. And shortly thereafter the house caught
12       A No.                                                    12   on fire?
13       Q Okay. So why was Park County involved?                 13        A That's correct.
14       A Actually, he -- like I say, this was dealing           14        Q And then the suspect died; is that right?
15   just with the IRS. We came out on a welfare check, I         15        A Yes. That's correct.
16   think, during the process, and that's when it transpired.    16        Q Now, Sheriff, on average, and, again, during
17       Q And why were you doing a welfare check?                17   your tenure as the Sheriff of Park County, how many
18       A Somebody called. I don't remember all the              18   evictions per year, if you know, does the Park County
19   specifics.                                                   19   Sheriff's Office do?
20       Q And was this individual known to be armed and          20        A I -- I don't -- I don't know.
21   dangerous?                                                   21        Q More than 100?
22       A I -- I don't recall.                                   22        A Less than 100, oh, yeah.
23       Q Okay. And how many deputies came out to this           23        Q I mean, I know we may not know the specific
24   individual's residence?                                      24   number but --
25       A Boy, I -- I don't recall exact numbers.                25        A Less than 50 a year, I would guess.

                                                            42                                                                44
 1       Q Was it the same number that came out for Martin         1       Q Okay. So anywhere -- more than 10?
 2   Wirth's residence, seven deputies and Fire and Rescue?        2       A Oh, yes.
 3       A I don't think it was -- no. I'm guessing, so I          3       Q More than 25?
 4   don't -- I don't know.                                        4       A Yes.
 5       Q Do you know whether or not SWAT was deployed            5       Q Okay. So anywhere between 25 to 50 evictions
 6   for this individual?                                          6   per year?
 7       A It was not.                                             7       A Yeah. I'm going to say that's probably
 8       Q Okay. Do you know SWAT was not deployed?                8   average.
 9       A The supervisor at the time for the shift must           9       Q And would I be correct in saying that evictions
10   not have thought it was warranted.                           10   in Park County, that Park County Sheriff's Office is -- is
11       Q And who was the supervisor? Do you recall?             11   involved in, are sort of a reoccurring event for your
12       A I don't recall.                                        12   office.
13       Q But shots were fired at the deputies?                  13           MR. SCHIMBERG: Object to form.
14       A Yes. That's correct.                                   14       A Uneventful.
15       Q And when shots were fired at the deputies, were        15       Q (BY MR. ELKUS) Uneventful, but they are
16   other deputy sheriffs in Park County then deployed to that   16   reoccurring events, is that fair to say?
17   agency -- that residence?                                    17       A Oh, yes.
18       A Yes.                                                   18       Q Now, and, again, this is during your tenure as
19       Q Okay. And was there a shootout at that                 19   the Sheriff, on average, to the best of your knowledge,
20   residence?                                                   20   how many of those evictions, you know, again, per year,
21       A No.                                                    21   does the Sheriff's Department deal with angry folks that
22       Q And -- and so when he was shooting at the              22   are being removed from the premises?
23   deputies, what was your understanding how the deputies       23           MR. SCHIMBERG: Form.
24   responded?                                                   24           Go ahead.
25       A Well, they got behind cover and the house was          25       A Probably -- there's probably a few, yes.

                                                                                                            11 (Pages 41 to 44)

                                           Hunter + Geist, Inc.
                                             EXHIBIT
                         scheduling@huntergeist.com    4
                                                    * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 4 of
                                      19
                                FREDRICK WILLIAM WEGENER, III - 6/8/2017
                     Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                              45                                                               47
 1       Q (BY MR. ELKUS) Okay. I mean, you would agree             1   high-risk stops, high risk -- I mean, other things that
 2   that someone's being evicted from their home, and, I mean,     2   are high risk.
 3   you may not recall specifics, but fair to say that based       3       Q But not high-risk evictions?
 4   upon your experience doing evictions in Park County, when      4       A Specifically high-risk evictions, no.
 5   a person's being removed from their home and law               5       Q And, Sheriff, again, this is during your tenure
 6   enforcement is present, you've personally observed those       6   as the Sheriff of Park County, what research, if any, have
 7   tenants being upset that they have to leave the residence;     7   you done to determine what is the standard process or
 8   is that fair?                                                  8   procedure for evicting persons that pose a high risk to
 9          MR. SCHIMBERG: Foundation. Objection. Form.             9   officer safety and/or the public?
10       A Yes.                                                    10           MR. SCHIMBERG: I'm sorry. Could you read
11       Q (BY MR. ELKUS) Okay. And based upon your                11   that.
12   experience with the Park County Sheriff's Office and the      12           (The court reporter read the question as
13   number of evictions that are done per year, based on your     13   follows: "And, Sheriff, again, this is during your tenure
14   understanding, and -- is there a potential that the           14   as the Sheriff of Park County, what research, if any, have
15   Sheriff's Office will have to evict a person that poses a     15   you done to determine what is the standard process or
16   high risk to officer safety and/or the public?                16   procedure for evicting persons that posed a high risk to
17          MR. SCHIMBERG: Object to form.                         17   officer safety and/or the public?")
18          Go ahead.                                              18           MR. SCHIMBERG: Object to form.
19       A Yes.                                                    19           But go ahead.
20       Q (BY MR. ELKUS) Okay. And why do you say yes?            20       A I would not know how -- so do we know how to
21       A Well, I mean, if you have to -- if you have an          21   deal with people that are high risk, yes.
22   eviction order or a writ of restitution that has to be        22       Q (BY MR. ELKUS) That's not my question, though.
23   served then you will have to make contact with that           23           So my question is, you know, during your tenure
24   individual.                                                   24   as the Sheriff of Park County, okay, have you done any
25       Q And it's certainly foreseeable that, you know,          25   research to determine what is the standard process or

                                                              46                                                               48
 1   those individuals that are now being removed from their        1   procedure, and I'm talking whether state, or nationwide,
 2   home, that those people could lash out at the sheriff's        2   for how other agencies evict persons -- law enforcement
 3   deputies that are involved in that eviction. Is that fair      3   agencies that evict persons that pose a high risk to
 4   to say?                                                        4   officer safety and/or the public? Have you done any
 5          MR. SCHIMBERG: Object to form and foundation.           5   research on that?
 6          Go ahead.                                               6       A No.
 7       A Sure. Or they could leave.                               7       Q Okay. And why not?
 8       Q (BY MR. ELKUS) Ideally it would just be them             8       A Well, I deal with people who are a high risk or
 9   leaving --                                                     9   who are -- have problems with the law enforcement every
10       A Correct.                                                10   day.
11       Q -- right?                                               11       Q Okay. So in your mind, that was a reason not
12          But like we know with Mr. Wirth, that was not          12   to do any research nationally or statewide on how other
13   the ideal situation; is that right?                           13   agencies do evictions for high risk personnel?
14          MR. SCHIMBERG: Object to form.                         14          MR. SCHIMBERG: Object to form.
15       Q (BY MR. ELKUS) And I'm talking about the 2016           15       A So -- well, I guess I'm having a hard time with
16   incident.                                                     16   the question. So I deal -- we -- we go through training.
17       A Yes.                                                    17   We go through arrest control. We go through how to talk
18          MR. SCHIMBERG: Same objection.                         18   to people. That's our job.
19       Q (BY MR. ELKUS) What was that, sir?                      19       Q (BY MR. ELKUS) Okay. Well, other agencies
20       A Yes. You're right.                                      20   that you worked for, okay, and it sounds like you worked
21       Q Now, with the potential threat that may be              21   for Aurora -- I mean, it wasn't in Aurora, but I've got to
22   posed to the public and/or officer safety, I'm correct        22   ask it anyways for Aurora and Idaho Springs: For those
23   that Park County has not provided specific training on how    23   agencies, were there policies -- well, did those agencies
24   to handle evictions of high-risk persons; is that right?      24   evict personnel from their homes?
25       A Well, we -- we've provided training on                  25       A I don't think municipalities do. I think it's

                                                                                                             12 (Pages 45 to 48)

                                            Hunter + Geist, Inc.
                                              EXHIBIT
                          scheduling@huntergeist.com    4
                                                     * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 5 of
                                      19
                               FREDRICK WILLIAM WEGENER, III - 6/8/2017
                    Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                            49                                                                 51
 1   usually just the Sheriff's Office that do.                    1       A You know, if they're off their meds for a
 2       Q And that's where I'm going with this because I          2   while. If they -- you know, their behavior could be such
 3   don't -- because you worked for a city. You didn't work       3   that it could pose a -- a risk. I mean --
 4   for a Sheriff's Department other than Park County; is that    4       Q Because of the unpredictability of their
 5   right?                                                        5   behavior, right?
 6       A Correct.                                                6            MR. SCHIMBERG: Object to form.
 7       Q Okay. So to the best of your knowledge, those           7       A That can be unpredictable, yes.
 8   other agencies you worked for, they didn't have any           8       Q (BY MR. ELKUS) Right.
 9   policies that you're aware of regarding evictions of          9       A Or they can be predictable.
10   people, is that fair to say?                                 10       Q Okay. And -- and based on your experience with
11       A That's probably fair.                                  11   the Park County Sheriff's Office, have you personally
12       Q So your sole knowledge on how evictions are            12   encountered a mentally ill person that posed a safety risk
13   done was based on your work tenure with the Park County      13   to sheriff deputies?
14   Sheriff's Office?                                            14       A Yes.
15       A Correct.                                               15       Q And can you give some examples of that
16       Q Okay. Now -- and, Sheriff, again, you know,            16   occurring based on your personal interactions?
17   while you've been the Sheriff of Park County, how often      17       A Yes. I've had, I mean, individuals that
18   does the Park County Sheriff's Office encounter a member     18   suffered from PTSD that had issues where they wanted to
19   of the public that is mentally ill?                          19   fight with the officers on -- you know, I know they
20          MR. SCHIMBERG: Object to form.                        20   fought.
21       A Once a week.                                           21            Had an individual with me that didn't think he
22       Q (BY MR. ELKUS) Okay. And so do you agree               22   needed a driver's license and registration or insurance,
23   that, you know, based on your position with Park County,     23   walked around like he had a guns -- like he had a gun, and
24   the years that you've been there and while you were the      24   -- and just created a hazard for everybody.
25   Sheriff, your interaction or your deputy's interactions      25       Q And in the situation where you had that

                                                            50                                                                 52
 1   with mentally ill people is a reoccurring event within        1   mentally ill person that was walking around like he had a
 2   your agency?                                                  2   gun, was that your personal experience or was that another
 3        A Sure.                                                  3   sheriff deputy that had that --
 4        Q Okay. And do you agree that mentally ill               4       A No. That was mine.
 5   people that Park County Sheriff's Office comes into           5       Q And how did you resolve that situation?
 6   contact with may pose a safety risk to law enforcement        6       A Took him to a public state hospital.
 7   officers?                                                     7       Q And did you immediately use force, or were you
 8        A Yes.                                                   8   -- did you -- how did you get him into custody?
 9        Q Okay. And why do you say yes?                          9       A Well, that individual at the time had a -- a
10        A Well, it's been proven time and time again,           10   staff with him. That he started swinging at me, so
11   so . . .                                                     11   unfortunately I did have to tackle him, but, yeah.
12        Q Well, why -- I get it, but your belief? I             12       Q And based on your experience with the Park
13   mean, why do you -- what is your understanding and behalf    13   County Sheriff's Office, how often would you encounter a
14   as to why -- let me ask it differently.                      14   mentally ill person that posed a safety risk to sheriff
15            Why do you believe that mentally ill people         15   deputies.
16   pose a safety risk to Park County Sheriff's Office           16           MR. SCHIMBERG: Form. Foundation.
17   deputies?                                                    17           Go ahead.
18        A Well, I wouldn't phrase it like that. Mentally        18       A I mean, how often?
19   ill folks can -- can cause problems.                         19       Q (BY MR. ELKUS) Yeah.
20        Q Not every single one of them?                         20       A Probably every once -- every once in awhile. I
21        A Yes.                                                  21   mean, I don't know exactly how often.
22        Q I understand that.                                    22       Q Once a week? Once a month?
23            But why do you believe that mentally ill people     23       A That posed a threat?
24   may pose, not all of them, but may pose a safety concern     24       Q Yeah.
25   for Park County Sheriff's Office deputies?                   25       A Yeah, you know, probably -- I don't want to

                                                                                                             13 (Pages 49 to 52)

                                           Hunter + Geist, Inc.
                                             EXHIBIT
                         scheduling@huntergeist.com    4
                                                    * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 6 of
                                      19
                                FREDRICK WILLIAM WEGENER, III - 6/8/2017
                     Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                             53                                                                55
 1   seem like we have a whole bunch of mentally ill people        1   taken the mental health one.
 2   walking around. So, yeah, let's go maybe once, twice a        2       Q Okay. And regarding the Mental Health First
 3   week, maybe. Something like that.                             3   Aid -- is that the one you're talking about?
 4        Q And essentially you may not know the specific          4       A Yes.
 5   numbers, but it's fair to say, Sheriff, is that your          5       Q And what year did you take that one?
 6   sheriff deputies at Park County would encounter a mentally    6       A I want to say -- and I think, in my mind,
 7   ill person that posed a safety risk to your deputies, is      7   actually it might have been dealing with the mental ill,
 8   that fair to say? At least once or twice a week, is that      8   but it was probably back in 2004, 2003.
 9   fair to say?                                                  9       Q Okay. So approximately 12 to 14 years -- 13 to
10        A Sure. Sure.                                           10   14 years ago is when you took that course, right?
11        Q Now, prior to the Martin Wirth incident that          11       A Correct.
12   we're here for, the February 24th incident, what specific    12       Q And did you take -- or have you taken updated
13   training did the Park County Sheriff Office provide to its   13   courses since that point in time, in 2003 or 2004, on how
14   employees -- to its deputies regarding identifying,          14   law enforcement is to respond to mentally ill individuals?
15   preventing, and deescalating persons who were experiencing   15       A I don't recall.
16   a mental health problem?                                     16       Q Okay. And if you would have, that would be
17          MR. SCHIMBERG: Form.                                  17   contained in the training records that were provided to
18        A Well, there's Mental Health First Aid. There's        18   our firm; is that fair to say?
19   Dealing with the Mentally Ill. I mean, there's various       19       A Or there could be something that we picked up.
20   courses that we have provided.                               20   I know the County Sheriffs of Colorado, when we go to
21        Q (BY MR. ELKUS) Do you recall what those               21   conference, we also have these little classes too. I'm
22   courses were?                                                22   trying to remember if one of those was also a topic of the
23        A Just what I just said. That's the name of the         23   mentally ill.
24   course.                                                      24       Q Okay. Would there be any certifications as
25        Q The name of the course is -- what is it then?         25   contained in your personnel file that would indicate that

                                                             54                                                                56
 1        A Mental Health First Aid. That's with a first           1   you went to that?
 2   responder. And there's also -- or Dealing with the            2        A No. There would be training in the training
 3   Mentally Ill is also another one of those. Some of those      3   records for the County Sheriffs of Colorado.
 4   they get online. My victim's advocate director has also       4        Q Okay. And have you provided those documents to
 5   had classes dealing with mentally ill?                        5   Mr. Schimberg?
 6        Q And what year was that training provided?              6        A No. I don't know if we have on those.
 7        A Boy, I think we provide classes. That's --             7        Q All right. Do you believe that you have those
 8   every year there's classes in dealing with the mentally       8   documents? Because if you do, I do need you to provide
 9   ill.                                                          9   that to Mr. Schimberg, if you have them.
10        Q And to the best of your knowledge, were those         10        A No, I don't. And I don't know that we got a
11   classes -- did they deal with how to deescalate persons      11   certificate.
12   that were experiencing mental health issues?                 12        Q Okay. So as you sit here today, you have no
13        A There's -- there is a deescalation course that        13   specific recollection of taking any updated courses from
14   POST provides. That's one of the mandated trainings.         14   2003 to 2004, since that point in time, about whether or
15        Q Okay. But that mandated training didn't happen        15   not you specifically took updated courses on how law
16   until January 1st of 2016, right?                            16   enforcement is to interact with mentally ill individuals;
17        A Yeah, that mandating. But that course, I can't        17   is that fair to say?
18   remember when that deescalation -- deescalation training,    18        A You mean other than the one I just told you?
19   I can't remember when they started with that, because that   19        Q Yeah. The Mental Health First Aid one.
20   may have been actually before that.                          20        A No. No. But I said I may have taken -- we may
21        Q Do you have a specific recollection of having         21   have had a course with the County Sheriffs of Colorado.
22   that course offered for your sheriff deputies?               22        Q Okay. But I'm asking you, do you have any
23        A No, I don't.                                          23   specific recollection that you actually took that course?
24        Q Did you take that course specifically?                24        A Other than what I just said?
25        A I haven't taken the deescalation one. I have          25           MR. ELKUS: Can you read the answer back.

                                                                                                             14 (Pages 53 to 56)

                                            Hunter + Geist, Inc.
                                              EXHIBIT
                          scheduling@huntergeist.com    4
                                                     * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 7 of
                                      19
                               FREDRICK WILLIAM WEGENER, III - 6/8/2017
                    Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                            57                                                                59
 1           (The court reporter read the answer as follows:       1       Q So ask the question again.
 2   "Or there could be something that we picked up. I know        2          MR. ELKUS: Can you please read the question
 3   the County Sheriffs of Colorado, when we go to conference,    3   back to the sheriff.
 4   we also have these little classes too. I'm trying to          4          (The court reporter read the question as
 5   remember if one of those was also a topic of the mentally     5   follows: "And you would agree this policy does not address
 6   ill.")                                                        6   on how Park County Sheriff Office deputies are to identify
 7        Q (BY MR. ELKUS) The reason I'm asking this              7   and then deescalate a person that is experiencing a mental
 8   question, Sheriff, is because it indicates to me that you     8   health issue; is that right?")
 9   don't really have a specific recollection of going through    9          MR. SCHIMBERG: Object to form.
10   a course.                                                    10       A Yeah. It -- well, it says that when any person
11           So I'm asking, do you specifically recall            11   appears to have a mental illness and as a result of such
12   taking a course on mental health individuals at that         12   mental illness appears to be an imminent danger to himself
13   conference or not?                                           13   or others, appears to be gravely disabled, then the person
14        A Specifically, no.                                     14   specified in the paragraphs A with whom is referred to in
15        Q And to the best of your knowledge, what is the        15   the section as the intervening professional upon probable
16   Park County Sheriff's Office policy -- actually, let me      16   cause and with such assistance, may be required and may
17   back that up.                                                17   take the person into custody and cause the person to be
18           As of February 24th, 2016, what was the Park         18   taken into custody and placed in a facility designated or
19   County Sheriff Office policy on how deputies are to          19   approved by the executive director for a 72-hour treatment
20   interact with people who are experiencing mental health      20   and evaluation.
21   problems?                                                    21       Q (BY MR. ELKUS) Right. It doesn't -- this
22        A I have a policy that deals with handling the          22   policy doesn't address, or at least inform deputies, on
23   mentally ill.                                                23   how to deescalate a person that is experiencing a mental
24        Q And was that policy -- in regards to mentally         24   health issue? It doesn't say that, does it?
25   ill individuals, did that policy address on how your         25       A How to -- how to deescalate, no. I mean, the

                                                            58                                                                60
 1   deputies are to identify, prevent, and deescalate persons     1   policy doesn't say how to deescalate.
 2   that are experiencing mental health problems?                 2       Q Right. Right. In fact, this policy gives you
 3       A I think it -- it was more along the lines of            3   the procedure on -- on how to take -- essentially, place a
 4   when you -- probably when -- when dealing with individuals    4   mentally ill person into custody on, like, a 72-hour
 5   with mental illness how to go about finding resources to      5   cycle, is pretty much what this is, right?
 6   get them help or who to call to help facilitate screening     6           MR. SCHIMBERG: Object to the form.
 7   of those individuals, various things like that.               7       A Yeah. That's what this policy does.
 8          MR. ELKUS: Let me mark as Exhibit 1 . . .              8       Q (BY MR. ELKUS) Okay. All right. Now, are you
 9          (Deposition Exhibit 1 was marked.)                     9   aware of any other Park County Sheriff Office policy that
10       Q (BY MR. ELKUS) Have you seen this document             10   addresses how sheriff deputies are to identify and
11   before, sir?                                                 11   deescalate a person that's experiencing a mental health
12       A Yes.                                                   12   issue?
13       Q Okay. And is this the policy -- the Park               13       A I'm trying to remember. 2016.
14   County Sheriff Office policy that was in place in dealing    14           So if they have somebody who's in a mental
15   with the mentally ill as of February 24, 2016?               15   health crisis, they can call the Colorado Crisis Hotline,
16       A Yes.                                                   16   put that individual in touch with it to find out if --
17       Q And this policy addresses the procedure by             17   because if the individual doesn't rise to an M-1 status,
18   which persons that are experiencing a mental health event    18   that individual then may just have to go to a therapist
19   can be placed into custody; is that right?                   19   and/or talk to somebody over the phone, and that would
20       A Correct.                                               20   deescalate it.
21       Q Okay. And you would agree this policy does not         21           So I'm guessing as far as written policy, no,
22   address on how Park County Sheriff Office deputies are to    22   but they have been trained.
23   identify and then deescalate a person that is experiencing   23       Q Okay. So the -- the -- okay. So who provided
24   a mental health issue; is that right?                        24   that training?
25          Please take the time to review it.                    25       A The -- as far as the training, it's more of a

                                                                                                            15 (Pages 57 to 60)

                                           Hunter + Geist, Inc.
                                             EXHIBIT
                         scheduling@huntergeist.com    4
                                                    * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 8 of
                                      19
                               FREDRICK WILLIAM WEGENER, III - 6/8/2017
                    Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                            61                                                                63
 1   -- right now we have a -- we've had it -- like I say, it's   1         Q Did you know if Mike -- is it Mike? Mark
 2   probably a couple of years now. We have had the process      2    Hancock?
 3   in place when dealing with the mentally ill, being able to   3         A Mark Hancock.
 4   contact the Colorado Crisis Hotline to be able to do that.   4         Q Did Mark Hancock take that course? Do you
 5        Q Okay. So let's walk through that a little bit.        5    know?
 6        A Sure.                                                 6         A Like I said, it was a -- it was -- I don't want
 7        Q When you say contact the -- what was the name         7    to say it was a course. It was just a -- they came in. I
 8   of that?                                                     8    think Mary Pat and Patty Lucy, we all got together and put
 9        A Colorado Crisis Hotline.                              9    on a, I guess, little session where we just tried to get
10        Q Okay. So what is that?                                10   folks to start using the Colorado Crisis Hotline.
11        A That's a statewide program for dealing with           11        Q And -- and what prompted your department to
12   mentally ill individuals.                                    12   want to provide that training to your sheriff deputies?
13        Q And what's the specific training you -- your          13        A Well, rural Colorado has often suffered with
14   agency provides to deputies on how to utilize the Colorado   14   folks moving up into the mountains that have mental
15   Crisis Hotline?                                              15   illness, and the unavailability of services causes our
16        A So the specific training would be that those          16   folks to have to deal with those individuals quite
17   individuals, when they run across somebody whose in a        17   frequently, whether that's through -- and that can be
18   mental health crisis, i.e., they're suicidal, but they're    18   through, you know, the jail. It could be, you know,
19   not ambulatory, so they don't need to go to an ER, then      19   through various calls.
20   those individuals then are put in contact with somebody      20           And so we recognized that one of the problems
21   from whatever catchman area you're in -- ours is Aspen       21   is trying to get individuals to mental health services is
22   Point -- puts them in contact with somebody from Aspen       22   hard, so we're trying to work with our provider, Aspen
23   Point who will then talk to them.                            23   Point, to try to provide more service to rural -- rural
24        Q And what was that training provided to your           24   areas.
25   deputies?                                                    25        Q And so the -- the 36 sworn officers within the

                                                            62                                                                64
 1       A I'm going to say last year, but I don't                1    Park County Sheriff's Office, were they all required to
 2   remember exactly when.                                       2    take that course?
 3       Q Was that before the Martin Wirth incident or           3        A No. The jailers get it. They get a different
 4   after?                                                       4    method. We have an in-house psychiatrist.
 5       A I don't recall. I don't know the exact date            5        Q So did all 18 sworn law enforcement officers
 6   when they rolled that out.                                   6    take this Colorado Crisis Hotline course?
 7       Q Okay. But the first time that was provided as          7        A I don't know if they took it or if they got --
 8   training to your sheriff's deputy was 2016?                  8    it was -- they did inservice training and got it when they
 9       A '16, yeah.                                             9    were at one of their meetings.
10       Q Because -- and I think the -- that you                 10       Q Okay. So all 18 sworn patrol officers in some
11   identified, Sheriff, was that it is when someone's having    11   fashion were required to take that?
12   a mental health crisis, specifically either suicidal         12       A Sure. Should have gotten it, yeah.
13   ideations, then you would call the mental health crisis      13       Q And what did you ensure that all 18 sworn law
14   hotline.                                                     14   enforcement officers, specifically the patrol division,
15          Did I state that correctly?                           15   took the Colorado Crisis Hotline course?
16       A Well, yeah. And that was one example, yes.             16       A I just put it out to the supervisors to make
17       Q Okay. Because what other mental health crisis          17   sure that they got it.
18   that you were trained on -- let me ask it differently.       18       Q Okay. Was that mandatory, or was it sort of
19   That was poorly worded.                                      19   suggested?
20          What other mental health issues would require         20       A No. Suggested.
21   sheriff deputies to contact the Colorado Crisis Hotline?     21       Q Okay.
22       A Oh, somebody suffering from PTSD, postpartum           22       A I mean, they're going to get it.
23   depression. I mean, all sorts of mental health issues.       23       Q What do you mean, they're going to get it?
24       Q Okay. And did you take that course?                    24       A Well, I mean, that's the procedure. The
25       A Yes.                                                   25   procedure's set up. The way they deal with the mentally

                                                                                                            16 (Pages 61 to 64)

                                           Hunter + Geist, Inc.
                                             EXHIBIT
                         scheduling@huntergeist.com    4
                                                    * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 9 of
                                      19
                               FREDRICK WILLIAM WEGENER, III - 6/8/2017
                    Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                            65                                                                67
 1   ill, they're going to get -- they're going to get it.         1            And so what is CIT?
 2   Either they're going to -- you know, voluntarily they go      2        A Crisis Intervention. Individuals who have been
 3   out and take the course -- or, you know, go out and get       3   trained to deal with situations, high-stress situations.
 4   the information, or when they have a call, they're going      4        Q And do you believe that CIT provides a benefit
 5   to get that information presented to them.                    5   for law enforcement agencies?
 6         Q All right. So to understand what you're saying        6        A Oh, yes.
 7   is, the way that your 18 sworn officers, patrol division,     7        Q And why do you say yes?
 8   are going to get this training on Colorado Crisis Hotline     8        A So it helps you with critical incidents.
 9   is either -- they're going to get it either voluntarily       9        Q Okay. And -- and during your tenure as
10   through some course, right?                                  10   Sheriff, and prior to February 24th, 2016, did you require
11         A (The witness nodded.)                                11   all of your officers to undergo CIT training?
12         Q Is that a yes?                                       12        A No.
13         A Yes.                                                 13        Q Okay. Why not?
14         Q Or they'll get it through, actually, on-the-job      14        A Didn't have the -- didn't have the officers to
15   training when they're actually going through the --          15   do it.
16   through a situation where they need to get a crisis          16        Q What do you mean you didn't have the officers
17   hotline call; is that fair to say?                           17   to do it?
18         A That's correct.                                      18        A That requires sending individuals off shift
19         Q Okay. Now . . .                                      19   that aren't covering the county to go to the training. So
20            (Deposition Exhibit 2 was marked.)                  20   if the training had come up to us, then we would have been
21         Q (BY MR. ELKUS) Have you seen this document           21   able to get more people through it, but I didn't have the
22   before, Sheriff?                                             22   backfill to be able to send the individuals to training.
23         A Yes.                                                 23        Q So to understand what you're saying, then,
24         Q Okay. What is this document?                         24   Sheriff, is you just didn't have enough personnel to -- to
25         A It's the table of contents.                          25   send off to go to CIT training because that would,

                                                            66                                                                68
 1        Q Is that for the policy and procedure manual of         1   essentially, not give you enough officers to assist the
 2   the Park County Sheriff's Office that was at least in         2   community?
 3   effect as of February 24th, 2016?                             3       A To cover the shifts, yes.
 4        A Correct.                                               4       Q Okay. And as of February 24, 2016, what
 5        Q In looking through this table of contents,             5   percentage of your sheriff deputies were CIT trained?
 6   other than Policy 741 that was dealing with the mentally      6       A A very small percentage.
 7   ill, what other policy here, if you could identify,           7       Q If you had to guess, do you know?
 8   addresses or deals with mentally ill or how to -- how to      8          MR. SCHIMBERG: Form.
 9   -- let me ask it differently.                                 9          Go ahead.
10           Other than Policy 741, looking at this table of      10       A I -- I don't -- I think -- at that time, I
11   contents, is there any other policy that specifically        11   think only one that I had that was a CIT officer.
12   addresses how sheriff deputies are to deal with people       12       Q (BY MR. ELKUS) Okay. And are you CIT trained?
13   suffering from mental illness?                               13       A I am not.
14        A I believe 741 is it.                                  14       Q Did you ever have an opportunity to take CIT
15        Q Okay. So to the best of your recollection             15   training?
16   looking at this table of contents, only 741 is the only      16       A No, I did not.
17   policy dealing with the mentally ill; is that fair to say?   17       Q No. I know that you're not, but did you ever
18           MR. SCHIMBERG: Form.                                 18   have an opportunity to go and get CIT training?
19        A Yes. I -- I don't think there's any other             19       A Oh, I'm sure, yes.
20   policy.                                                      20       Q Okay. And why -- do you recall why you didn't
21        Q (BY MR. ELKUS) Okay. Thank you, sir.                  21   go out and get the CIT training that was at least
22           Now, Sheriff, have you ever heard of crisis          22   available at the time for you to take?
23   intervention teams or CIT?                                   23       A Duties and responsibilities.
24        A Yes. We have a couple folks trained in that.          24       Q Okay. So similar to your other deputies, that
25        Q Okay. And I'm going to get into that.                 25   you couldn't really miss on their shifts because your

                                                                                                            17 (Pages 65 to 68)

                                           Hunter + Geist, Inc.
                                             EXHIBIT
                         scheduling@huntergeist.com    4
                                                    * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 10
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                               69                                                                 71
 1      department --                                                 1   agencies, how they look at the importance of CIT training?
 2           A Is small.                                              2           Do you understand that?
 3           Q -- is small that you really couldn't afford to         3           MR. SCHIMBERG: Object to form. Argumentative.
 4      leave the Park County Sheriff Office vacant, if you will,     4        A Yeah. I mean, yes. I mean, we'd love for all
 5      to go take CIT training? Is that what you're saying?          5   our officers to go to law school, but to be able to drop
 6           A Yes. That's correct.                                   6   everything you're doing and be able to just go to law
 7           Q But you do have an Undersheriff, right?                7   school would be tough.
 8           A I do.                                                  8           So I think what we try and do is we try to
 9           Q And so if your Under -- and so when you're gone        9   maximize the use of everybody's time. We try and go
10      from the office, essentially, the Undersheriff, for all      10   through the required training that we have from POST and
11      intents and purposes, takes the position as Sheriff; is      11   try and get those individuals to attend that training,
12      that right?                                                  12   which deals pretty much with skills, which are high
13           A No.                                                   13   liability, and those things that may deal with current
14           Q Or assumes some of the responsibilities of your       14   issues.
15      day-to-day operations, other than what are statutorily to    15           But we do get some mental health training. We
16      you?                                                         16   just haven't gotten everybody to CIT training.
17           A Sure.                                                 17        Q (BY MR. ELKUS) Now, those offices in your
18           Q Is that right?                                        18   agency that are CIT trained, okay, now, did you have a
19           A Yes.                                                  19   mechanism in your department for ensuring that one of the
20           Q Okay. So, I mean, I understand that he cannot         20   few officers that are, in fact, CIT trained, that they
21      -- I mean, I know there's certain statutes that only the     21   would be responding to crisis calls?
22      Sheriff can technically hire and fire sheriff deputies by    22           Do you have any mechanism for that within your
23      law; is that right?                                          23   agency?
24           A Yes.                                                  24        A The individual that was trained actually came
25           Q Okay.                                                 25   to us from Denver. So he was trained while he was there,


                                                               70                                                                 72
 1          A That's correct.                                         1   so . . .
 2          Q Okay. So in that respect, in regards to, you            2       Q Who was that?
 3      know, your -- your day-to-day operations, I mean, couldn't    3       A Craig Jones.
 4      your Undersheriff have taken over some of the day-to-day      4       Q Okay. So, now, whenever there was a crisis
 5      operations to give you the opportunity to go take CIT         5   situation that Park County was dealing with, was there,
 6      training? Did you ever think about that?                      6   then, a mechanism that you implemented within your
 7          A Yes. He probably could have.                            7   department that would then require or have Deputy Jones
 8          Q Okay. Did that ever occur to you to allow your          8   come and respond to that situation as a CIT trained
 9      Undersheriff to do that, to take on some of your              9   officer?
10      responsibilities so you could take CIT training? Did that    10       A No.
11      ever occur to you?                                           11       Q And since you've been Sheriff, what efforts
12          A I guess I'm trying to figure out -- so CIT             12   have you made to staff a certain number of CIT trained
13      training is the answer to everything?                        13   officers on a given shift?
14          Q No, that's not what I'm asking.                        14       A None. We don't have enough to do it.
15          A Well, you're --                                        15       Q And I would be correct in stating, Sheriff,
16          Q My question to you, though --                          16   that, I mean, it's really a luck of the draw that in
17          A I guess I don't understand. Yeah, I mean,              17   dealing with, let's say, for instance, the February 24th,
18      there's a lot of things I'd love to be able to do, but I     18   2016 incident with Mr. Wirth, that someone on scene would
19      just -- we don't have the ability to be able to -- or the    19   be CIT trained? Is that fair to say?
20      funds to be able to afford to be able to go to just -- go    20       A Correct.
21      to CIT training.                                             21       Q Now, based upon your experience in law
22          Q Okay. You -- I mean, being in law enforcement          22   enforcement, Sheriff, would you agree that the best person
23      as long as you have, I mean, you understand --               23   to respond to a person in crisis, mental health crisis, is
24          A Sure.                                                  24   someone that's trained in CIT? Would you agree with that?
25          Q -- how nationally, and even the FBI, most              25       A I would not.


                                                                                                                18 (Pages 69 to 72)

                                              Hunter + Geist, Inc.
                                                EXHIBIT
                            scheduling@huntergeist.com    4
                                                       * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 11
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                               73                                                              75
 1          Q Why do you say you would not agree with that?          1   prepared to act decisively and correctly in a broad
 2          A I -- I don't know what the -- I don't know that        2   spectrum of situations, right?
 3      CIT is going to be the best individual. It may be            3          MR. SCHIMBERG: Object to form.
 4      somebody that's not CIT trained that could be the best.      4        A Yes.
 5          Q And part of your -- at least to understand your        5        Q (BY MR. ELKUS) You seem unsure with your
 6      opinion on that, part of that is because you're just --      6   answer. Are you --
 7      you're not CIT trained, so you don't know the full           7        A No. I'm positive with my answer. But go
 8      benefits that CIT provides; is that fair to say?             8   ahead.
 9          A Well, or if I had somebody that was a trained          9        Q Okay. Now, to that end, an officer that is not
10      mental health expert, they may be the individual that's     10   well trained in a crisis situation, Sheriff, will pose a
11      more qualified to go.                                       11   risk to officer safety and the public. Would you agree
12          Q Well, let me ask you this: Was there anybody          12   with that?
13      on your staff, and specifically sheriff deputies, as of     13          MR. SCHIMBERG: Form.
14      February 24th, 2016, that had training -- a lot of          14        A Your definition of a "crisis."
15      training as that, I think you said mental health expert,    15        Q (BY MR. ELKUS) Well, what is your definition
16      in your department?                                         16   of "crisis" in regards to --
17              Was there anybody like that?                        17        A Individuals --
18          A No. Huh-uh.                                           18        Q -- in regards to, you know, law enforcement
19          Q Okay. And prior to -- and you maybe answered          19   deployment?
20      this, so let me just close the loop on this, okay,          20        A Well, I mean, is the crisis an accident? Is it
21      Sheriff.                                                    21   a -- what -- what's the -- what's the crisis.
22              Prior to February 24th, 2016, did you make any      22        Q That's fair.
23      efforts to see whether the Park County Sheriff Office was   23          So let's -- let's talk about when we're dealing
24      within compliance with generally accepted policy practice   24   with a situation where you have an individual that is
25      -- practices statewide or nationally with respect to CIT?   25   threatening the public or officer safety in regards to

                                                               74                                                              76
 1          A No.                                                    1   either a weapon -- or let's say with a weapon, okay, and
 2          Q Okay.                                                  2   in that -- would you say that that's a crisis for law
 3             (Deposition Exhibit 3 was marked.)                    3   enforcement officers?
 4          Q (BY MR. ELKUS) Now, Sheriff, have you seen             4       A Yes.
 5      this document before?                                        5       Q Okay. And with that knowledge, an officer that
 6          A Yes.                                                   6   is not well trained in that crisis situation that we were
 7          Q And what is this document?                             7   just talking about, that will -- that may pose a risk to
 8          A Policy 401.                                            8   officer safety and the public; fair to say?
 9          Q And was this the training function established         9       A Correct. Correct.
10      policy that was in effect as of February 24, 2016?          10       Q Okay. Now, under this policy, this Policy 401,
11          A Yes.                                                  11   the Sheriff's Department is taking responsibility to
12          Q Okay. And, Sheriff, you would agree that              12   develop, implement, and administer training to all of its
13      training is one of the most important administrative        13   officers; is that right?
14      responsibilities for any law enforcement agency? Would      14       A Yes.
15      you agree with that?                                        15       Q Now, let's look under Roman Numeral 4,
16          A Yes.                                                  16   procedure, on the first page. Do you see that, sir?
17             MR. SCHIMBERG: Object to form.                       17       A Yes.
18          Q (BY MR. ELKUS) I'm sorry?                             18       Q And it says, Training is to provide -- or is
19          A Yes.                                                  19   provided as a means to accommodate the professional need
20          Q Okay. Now, let's be more specific. You would          20   of the Park County Sheriff's Office and to actualize the
21      agree that training is one of the most important            21   interests and concerns the agency has for job-related and
22      administrative responsibilities for your own agency?        22   personal development needs of the sworn and non-sworn
23          A That's correct.                                       23   personnel.
24          Q Okay. And you would also agree, Sheriff, that         24           Then it goes, Section B, Activities of the
25      well-trained sheriff deputies are generally better          25   training session shall include, but not be limit ed to,

                                                                                                             19 (Pages 73 to 76)

                                              Hunter + Geist, Inc.
                                                EXHIBIT
                            scheduling@huntergeist.com    4
                                                       * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 12
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                               93                                                              95
 1          A Yes.                                                    1   Woolers is?
 2          Q Okay. And when was the first time you were              2       A Yes.
 3      aware of that allegation?                                     3       Q Who's Sergeant Woolers?
 4          A After the shooting.                                     4       A He's my Undersheriff.
 5          Q Okay. And do you -- and looking at the                  5       Q Okay. And -- and is it -- did Sergeant Woolers
 6      statement where it says Mr. Wirth was walking out and he      6   not have a conversation with you about this interaction
 7      stated he was going to get a gun and shoot the first cop      7   with Martin Wirth on February -- on January 20, 2016?
 8      he sees, I mean, do you take that statement to be a threat    8       A No.
 9      towards law enforcement officers?                             9       Q Do you know whether or not Sergeant Woolers has
10              MR. SCHIMBERG: Form.                                 10   ever had any conversation with then Captain Hancock or
11          A Yeah. I mean, in the -- in the heat of the             11   your Undersheriff at the time regarding this incident?
12      incident, yeah, I don't know. I wasn't there, so . . .       12       A No, I don't know.
13          Q (BY MR. ELKUS) Okay.                                   13       Q Okay. Now, Sheriff, do you know Richard
14          A Was he just pissed off and that's something he         14   Gabrish?
15      said, I -- I don't know.                                     15       A Yes.
16          Q Okay. Now, you know, I know that you said you          16       Q Did I pronounce his last name correctly?
17      looked at this after the fact. But having looked at it       17       A I think so, yeah.
18      after the fact, did it concern you that almost 30 days       18       Q How do you --
19      before the eviction that we're here for, did it concern      19       A Gabrish.
20      you that Mr. Wirth was openly saying that he was going to    20       Q Gabrish. Okay.
21      shoot the first cop he sees?                                 21          And how do you know Mr. Gabrish?
22              MR. SCHIMBERG: Form.                                 22       A From the CBI investigation.
23              Go ahead.                                            23       Q And when you say you know him from the CBI
24          A Again, I mean, is that the only thing he said,         24   investigation, what do you mean by that?
25      then, no, I probably wouldn't.                               25       A That he told me they talked to Mr. Gabrish in

                                                               94                                                              96
 1         Q (BY MR. ELKUS) It wouldn't have risen to --              1   the CBI investigation.
 2         A No.                                                      2        Q They told you to talk to Mr. Gabrish?
 3         Q After the situation and looking back on this,            3        A No. No. They said they talked to him.
 4     you know, this statement alone didn't give you concern --      4        Q Oh, Okay. So prior to the CBI investigation --
 5         A No.                                                      5   and the CBI investigation you're referring to was the
 6         Q -- that this man may have actually posed a real          6   investigation of the February 24th, 2016, incident; is
 7     threat to law enforcement?                                     7   that correct?
 8         A No.                                                      8        A Correct.
 9         Q Okay. Why do you say no?                                 9        Q And is it your position that prior to that date
10         A If that's all he said, and that's all he'd              10   you've had no interaction with Mr. Gabrish?
11     done.                                                         11        A None that I recall.
12         Q Okay. Let's turn to the next page, 1004.                12        Q Okay.
13     Third paragraph where it says, Deputy McDonald came over      13        A He says he talked to me two years prior, but I
14     to me.                                                        14   -- I don't recall.
15            Do you see that? It's this paragraph right             15        Q All right. And that -- let's -- that's --
16     here, sir.                                                    16   that's why I want to go into this.
17         A Yes.                                                    17        A Okay.
18         Q Deputy McDonald came over to me and Wirth.              18           (Deposition Exhibit 5 was marked.)
19     Wirth began asking us to shoot him in the head. Deputy        19        Q (BY MR. ELKUS) First of all, Sheriff, I've
20     McDonald told Wirth that wasn't going the happen. Once        20   handed you Deposition Exhibit 5. And this was the
21     the paramedics arrived on scene, I left to go inform          21   interview of Richard Gabrish from the CBI investigation
22     Sergeant Woolers about Wirth's suicidal statements.           22   into the February 24th incident. Okay?
23            Do you see that?                                       23        A Okay.
24         A Yes.                                                    24        Q I'll just represent that to you.
25         Q And first of all, do you know who Sergeant              25           Now, have you ever reviewed this document

                                                                                                              24 (Pages 93 to 96)

                                              Hunter + Geist, Inc.
                                                EXHIBIT
                            scheduling@huntergeist.com    4
                                                       * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 13
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                               145                                                              147
 1      with what they were doing?                                    1   the authority as the deputy sheriff when I swear you in,
 2          A Correct.                                                2   so that gives you the authority.
 3          Q Now, was the Facebook page that you were                3           MR. ELKUS: All right. Well, the problem --
 4      apprised of by your other fellow officers of Park County,     4           MR. SCHIMBERG: Sorry.
 5      was it the phrase by Mr. Wirth, If there's a war on cops,     5           MR. ELKUS: Yeah, just object to it.
 6      where's the recruitment center? Did you understand that       6           MR. SCHIMBERG: Yeah, my fault.
 7      that's what he was posting on social media, or was there      7           MR. ELKUS: We can't -- we can't have you
 8      something else he was posting on there?                       8   directing in how he should respond to it.
 9          A I think that's the one I remember somebody              9           MR. SCHIMBERG: It's just that I can tell he's
10      talking about.                                               10   confused, and he feels like he can't question you, and I'm
11          Q Okay. And do you recall what concerns those            11   frustrated.
12      officers -- well, let me state it differently.               12        Q (BY MR. ELKUS) So let's -- let's -- do you
13             Did you have a conversation with any sheriff          13   have any specific recollection of giving Captain Hancock
14      deputy within your organization specifically in regards to   14   authority to -- well, actually, let me ask it differently.
15      that Facebook posting by Mr. Wirth?                          15   I'll back up a little bit and not make this confusing.
16          A No.                                                    16           I think you said that there were two division
17          Q Okay. Well, it sounds like you became aware of         17   commanders as of -- that were -- sorry.
18      it. So how did you become aware of it?                       18           There were two division commanders at the Park
19          A It was in the investigation CBI did.                   19   County Sheriff's Office as of February 24th, 2016; is that
20          Q Okay. So that's how you became aware of some           20   correct?
21      of the officers' concerns about this Facebook posting; is    21        A Yes.
22      that right?                                                  22        Q Okay. And one of the division commanders is
23          A Correct.                                               23   Captain Hancock?
24          Q But you specifically had no conversations with         24        A Correct.
25      any sheriff's deputy within your organization about their    25        Q And by virtue of his position as a division

                                                               146                                                              148
 1     concerns with that Facebook posting by Mr. Wirth?              1   commander -- and I think -- and -- he would have the
 2         A Correct.                                                 2   authority to -- to go and devise a tactical plan to evict
 3         Q Okay. And that's including Captain Hancock as            3   someone like Mr. Wirth; is that fair to say?
 4     well? You had no conversations with Captain Hancock in         4       A Yes, I'll say that.
 5     regards to that Facebook post?                                 5       Q Okay. Now -- now, based on your experience in
 6         A Correct.                                                 6   law enforcement, is it important to have a mission plan in
 7         Q So then who ultimately made the decision to              7   place for operations that require proactive law
 8     bring seven sheriff deputies and at least have fire and        8   enforcement action?
 9     rescue on standby for the eviction of Mr. Wirth?               9          Do you understand the question?
10         A Captain Hancock.                                        10       A No, not at all.
11         Q Okay. And -- and I apologize, again, Sheriff,           11       Q So when I say "proactive," meaning that
12     if this is redundant, but, you know, by -- did you give       12   officers are going to have to do something. Okay. Do you
13     Captain Hancock the authority to make sort of this            13   understand when I say the word "proactive" they're going
14     tactical plan in the eviction plan of Mr. Wirth?              14   to have to take a course of action?
15             MR. SCHIMBERG: Object to form.                        15       A Okay.
16         A Yeah. I mean, I guess I'm trying to -- what do          16       Q Okay. Whether that's entry into a residence,
17     -- what do you mean by that, I guess.                         17   SWAT action, whatever you want -- however you define that.
18         Q (BY MR. ELKUS) Well, I mean, who gave Captain           18          So is it important to have a mission plan in
19     Hancock the authority to make this tactical plan to go and    19   place for operations that require proactive -- meaning we
20     evict Martin Wirth?                                           20   have to take a course of action -- for law enforcement
21             MR. SCHIMBERG: Same objection.                        21   officers?
22         A Well, I guess it would be -- it would be me. I          22          Do you understand?
23     mean, you're --                                               23       A Yes.
24             MR. SCHIMBERG: Don't guess.                           24       Q Okay.
25         A And I shouldn't say "I guess." You're giving            25       A I understand the question.


                                                                                                             37 (Pages 145 to 148)

                                              Hunter + Geist, Inc.
                                                EXHIBIT
                            scheduling@huntergeist.com    4
                                                       * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 14
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                             197                                                               199
 1     before your sheriff's deputies breached the home?")          1          MR. SCHIMBERG: That sits better with me too.
 2         A A minute.                                              2   Thank you.
 3         Q (BY MR. ELKUS) Okay. So not a long period of           3          MR. ELKUS: What's that?
 4     time went by from when Wirth went into the residence from    4          MR. SCHIMBERG: That sits better with me too.
 5     when the officers then breached the -- breached the home;    5   Thank you.
 6     is that right?                                               6       Q (BY MR. ELKUS) So you had some exchange with
 7         A Correct.                                               7   Captain Hancock where he asked permission to breach the
 8         Q Seemed to you pretty quick?                            8   residence; is that correct?
 9         A Yes.                                                   9       A He asked if he could go in, and I said yes.
10         Q Okay. Now, in your statement here, you said --        10       Q Okay. And did you understand at that point in
11     and this is on Page 7.                                      11   time that, even though you were present -- who had
12         A Okay.                                                 12   tactical command of this operation?
13         Q You said, So I said, Well, all right, you know.       13       A He did.
14     We listened a little bit.                                   14       Q Hancock did?
15            Well, when you said, So I said, Well, all            15       A Hancock did, yes.
16     right. You know, we listened a little bit, who were you     16       Q So if you know, why would Hancock ask your
17     talking to?                                                 17   permission to enter the residence if Hancock had tactical
18         A I have no idea what that means.                       18   command?
19         Q When you say, We listened a little bit, who is        19       A I don't know.
20     "we"?                                                       20       Q Okay. Do you think he had to ask for
21         A That's what I said. I don't know what that            21   permission to breach the residence if he had tactical
22     means.                                                      22   command?
23         Q Okay. It says, I thought may be about                 23       A Yeah, I don't know.
24     announcing, but I thought, You know what, he's already      24       Q Did you assume tactical command by being the
25     seen us.                                                    25   most senior officer that appeared on scene?

                                                             198                                                               200
 1            What do you mean by that?                             1        A No.
 2         A Oh, I believe what I'm thinking he's -- as far         2        Q Okay. Why do you say no?
 3     as not knowing we're there. I mean, obviously he knows       3        A I never took command from Captain Hancock.
 4     we're there, and he came out and talked to us. So he         4        Q Okay. So the person still in charge of this
 5     knows the sheriff's office is there.                         5   entire operation was Captain Hancock?
 6         Q Okay. So at this point, he went back into the          6        A Correct.
 7     residence. Was there a conversation that you had with        7        Q Even with you being present on scene, it was
 8     Hancock where Hancock was discussing with you the options    8   still -- Captain Hancock was still tactical command?
 9     of breach or don't breach?                                   9        A Correct.
10         A No.                                                   10        Q Now, if you can, please discuss for me the full
11         Q Okay. So you had no conversation.                     11   exchange that you had with Captain Hancock about breaching
12            Do you recall whether Hancock asked your             12   the residence.
13     permission to breach the residence?                         13        A Just what I said.
14         A He -- yes, he did ask me to go in, if he could        14        Q Why don't you tell me what specifically -- no,
15     go in.                                                      15   I don't want you to read it. Just your recollection.
16         Q Okay. So there was some conversation that you         16        A He asked if he could go in; I said yes.
17     had with Captain Hancock about breaching the residence?     17        Q Okay. Okay. And at that point in time, did
18            MR. SCHIMBERG: Object to form.                       18   you actually -- it sounds like you observed the officers
19         A He asked me over the radio if he could go in,         19   going into the Wirth residence, correct?
20     and I said yes.                                             20        A I could hear them. It's uphill, so I could --
21         Q (BY MR. ELKUS) Okay. If you want to call that         21   I mean, I could see that there was going on, but I --
22     a conversation or some exchange -- all right. Let's use     22   yeah.
23     the word exchange.                                          23        Q Did you actually physically see them go into
24            Okay?                                                24   the residence? Because your explanation here is we called
25         A Okay.                                                 25   a conga line.


                                                                                                           50 (Pages 197 to 200)

                                             Hunter + Geist, Inc.
                                               EXHIBIT
                           scheduling@huntergeist.com    4
                                                      * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 15
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                             237                                                              239
 1         A Correct.                                                1   have said it, the impression that Mr. Hancock was giving
 2         Q Okay. And do you know whether communicating             2   to you, what you understood it to mean, was he may have a
 3     with Mr. Wirth would or would not work as deescalation?       3   weapon and fire on us; is that right?
 4     Do you have any opinion one way or the other on that?         4       A Yeah, I -- I don't know what he thought.
 5         A If he was communicating, yeah. Yes.                     5       Q I'm asking what you took it to mean.
 6         Q So it stands to reason the fact that he wasn't          6       A Yeah, so -- that he considered it to be
 7     communicating, in your mind, then, it probably meant like,    7   dangerous.
 8     yeah, communication would not deescalate the situation        8       Q Okay. Now, let's turn to the second page of
 9     with him?                                                     9   this policy, sir.
10         A Correct.                                               10       A Okay.
11         Q All right. Now -- and you would agree with me,         11       Q And it says, "B. Officer in Command (OIC)."
12     Sheriff, maybe you don't, but would you agree that this      12       A Okay.
13     policy mandates that the Park County Sheriff's Office must   13       Q "The ranking officer at the scene shall be in
14     use peaceful resolution before using alternative             14   command until specifically relieved by a superior."
15     approaches?                                                  15          Do you see that?
16         A Yeah, I think they're definitely going to try          16       A Correct.
17     and use peaceful resolution. Yes.                            17       Q So in this particular case, I guess the ranking
18         Q But it's a mandate; you have to do that first?         18   officer was Captain Hancock, right?
19         A You have to try, yes.                                  19       A Correct.
20         Q Okay. Now, alternative approaches would                20       Q And he was the officer in command?
21     include breaching the residence with armed law enforcement   21       A Correct.
22     officers, correct?                                           22       Q And you did not relieve him of that position,
23         A Correct.                                               23   correct?
24         Q Now, prior to the breach, Sheriff, were there          24       A Correct.
25     any facts known to you of an emergent situation, emergency   25       Q All right. Now -- but under this policy,

                                                             238                                                              240
 1     situation, that required immediate action, or did you have    1   presuming that the policy would apply, and I understand
 2     time to look at other options in resolving this issue?        2   that it's your position today that it did not apply in
 3         A Me? No.                                                 3   regards to Mr. Wirth because you didn't think he was a
 4         Q Meaning you, that they were -- you were not             4   barricaded subject.
 5     aware --                                                      5       A Correct.
 6         A Nobody -- nobody told anything to me.                   6       Q But you don't know whether or not Captain
 7         Q Okay.                                                   7   Hancock thought he was a barricaded subject, correct?
 8         A There was something to the effect of he was             8       A I don't.
 9     gaining a tactical advantage that -- I do -- Mark said        9       Q Okay. Now -- but if it is a barricaded
10     over the radio. I do remember hearing that.                  10   situation, let's look at what -- these things you have to
11         Q So what was the tactical advantage that Mark           11   follow. It says, "The OIC shall inform the watch
12     was telling you?                                             12   commander about the nature and circumstances surrounding
13         A Because he was on higher ground.                       13   the incident."
14         Q All right. So why -- did that pose a concern           14          Do you see that?
15     for you, that the -- that Mr. Wirth was at a tactical        15       A Yes.
16     advantage, being at higher ground?                           16       Q And that's not discretionary. That's something
17         A It did for them, apparently. That's why they           17   that the OIC has to do; is that correct?
18     said it, yeah.                                               18       A Correct.
19         Q Well, in that circumstance, would it make more         19       Q And why is that? Why do they have to do that?
20     sense to move out of the way and sort of create a            20       A Well, if the commander is not there, they want
21     perimeter and potentially get SWAT involved if he was at a   21   to make sure he was brought up to speed upon what was
22     tactical advantage?                                          22   going on.
23         A If they thought it would be, yes.                      23       Q All right. So the fact that the commander at
24         Q Right. And what his concern was when he was at         24   this point actually was the patrol commander, that's
25     higher ground, at a tactical advantage, where he may not     25   something that Hancock didn't have to do; is that right?

                                                                                                           60 (Pages 237 to 240)

                                              Hunter + Geist, Inc.
                                                EXHIBIT
                            scheduling@huntergeist.com    4
                                                       * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 16
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                              241                                                                     243
 1         A Correct. And also, you could tell to too this            1          And Martin breached, right?
 2     was -- we don't have watch commanders, so that's -- was        2       A That's right.
 3     probably taken from another agency.                            3       Q And then there were three other than yourself
 4         Q Okay. Did you -- do you recall what agency               4   who was in a car. There were three other sheriff deputies
 5     this was taken from?                                           5   present, right?
 6         A I think this was taken from El Paso County.              6       A Correct.
 7         Q Now, then it says, "Delegate the tactical                7       Q Where was --
 8     mission to the OIC of the tactical response team."             8          MR. SCHIMBERG: I need to get an objection here
 9            Well, the fact that, you know, the commander on         9   because -- I just need to object to form. I'm just not
10     scene was -- the officer in command, that didn't have to      10   sure you guys are using -- well, I should shut up.
11     happen here; is that right?                                   11
12         A Correct.                                                12          MR. ELKUS: That's fine.
13         Q Then it says, "Ensure development of a                  13          MR. SCHIMBERG: Object to form.
14     communications negotiation process and emergency response     14       Q (BY MR. ELKUS) So then you had Lowrance.
15     team reaction."                                               15   Where was Deputy Lowrance before the breach? Do you know?
16            Do you see that?                                       16       A I -- I believe he was on perimeter.
17         A Yes.                                                    17       Q Do you know what part of the perimeter he was
18         Q Did that happen in this case?                           18   on?
19         A No.                                                     19       A No. I don't recall.
20         Q Ensure -- number 4, "Ensure establishment of an         20       Q And I think -- was it Hannigan?
21     inner and outer perimeter command post, tactical              21       A Hannigan? DJ.
22     operations center, negotiations center and a staging area     22       Q DJ Hannigan? And was he part of the perimeter
23     for officers and others arriving for assignment."             23   for the breach?
24            Do you see that?                                       24       A Correct, correct.
25         A Correct.                                                25       Q Do you know where he was?


                                                              242                                                                     244
 1           Q Was that done in this case?                            1        A On the back side of the house.
 2           A No.                                                    2        Q Do you know who the other officer was that was
 3           Q Did Park County have the capabilities of doing         3    -- oh, Leffler.
 4      that at the time of the indent?                               4        A Yes.
 5           A Yes, we could have probably done something. We         5        Q Where was -- do you know where Leffler was in
 6      had -- well, of course, you had the inner and outer           6    the perimeter?
 7      perimeter, but, I mean, I guess they could have done more,    7        A Talking to me.
 8      as far as the command post, if we had more officers.          8        Q But do you know where --
 9           Q All right. Do you know how many officers were          9        A I think he had the bottom of the drive -- of
10      part of the outer perimeter?                                 10    the -- what would be called the east -- southeast corner.
11           A Three.                                                11        Q Now, obviously, there was not a press center
12           Q All right. Well, let's be clear, because there        12    involved here, right?
13      were -- how many officers were breaching the -- the          13        A Correct.
14      residence?                                                   14        Q Now, then it says, "Ensure that responsibility
15           A I think there were four, so that'd be three           15    for traffic and crowd control is establish and that routes
16      left.                                                        16    for emergency vehicles have been designated."
17           Q Well, we know that Carrigan breached.                 17            Did that happen in this case?
18           A Uh-huh.                                               18        A No.
19           Q Is that a yes?                                        19        Q "Make provisions for recording, personnel
20           A Yes.                                                  20    assignments and developing a chronological record of
21           Q Hancock breached?                                     21    events of the command center and tactical operations
22           A Correct.                                              22    center."
23           Q We know that --                                       23            Did that happen in this case that you're aware
24           A Kolby.                                                24    of?
25           Q Throkill breached.                                    25        A Yeah, I mean, they were recording the

                                                                                                                61 (Pages 241 to 244)

                                              Hunter + Geist, Inc.
                                                EXHIBIT
                            scheduling@huntergeist.com    4
                                                       * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 17
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                              265                                                              267
 1      Wirth, right?                                                 1   differently about doing anything.
 2             MR. SCHIMBERG: Form.                                   2       Q Well, I know everybody wants to do this Monday
 3          A Well, I think you're trying to -- I mean, any           3   morning quarterbacking --
 4      time you have a situation like this, you're trying to take    4       A Yep.
 5      precautions just so that nothing happens. I mean, you         5       Q -- but looking back on this, hindsight 20/20, I
 6      hope nothing happens. You plan for the worst and hope for     6   mean, do you think you should have used other options
 7      the best.                                                     7   before breaching the residence?
 8          Q (BY MR. ELKUS) Well, did you think that when            8          MR. SCHIMBERG: Let me object to the form. Go
 9      Mr. Wirth was refusing to leave the residence that that       9   ahead.
10      was an indication to you that he may act out violently       10       A Sure.
11      towards the law enforcement officers that were present?      11       Q (BY MR. ELKUS) What other options --
12      Did you think that?                                          12       A I mean, why wouldn't you?
13          A I think you always -- like I say, you take             13       Q That's what I'm asking. So, I mean, what other
14      precautions. You hope he doesn't. But yeah, I mean, you      14   options -- I know we all could look back and try to fix
15      probably do think he's going to do something.                15   the things that we could do, right?
16          Q I'm just asking your mindset at the time.              16       A Uh-huh.
17      Okay? I get this was in February of 2016 and we're           17       Q And, you know, looking back on this, what are
18      talking a year and a half ago.                               18   the things that you would do differently?
19          A Right.                                                 19       A Worked harder on convincing Mr. Wirth that
20          Q But, you know, I'm just asking what your               20   taking it out on us isn't the right thing to do.
21      thoughts were at that point in time.                         21       Q What do you mean by that?
22          A Right.                                                 22       A That's what the courts are for. If he had a
23          Q Okay? At that point in time, were you                  23   complaint, if has a problem, he needs to go take it out
24      thinking, Look, this guy's not coming out. He is -- we       24   with the court. We're just delivering the writ. We're
25      have a court order. He's refusing that. He's shut the        25   not the ones you need to fight with.

                                                              266                                                              268
 1      door, ran back into his home, locked the door, whatever,      1       Q So do you mean, like, trying to talk ti him?
 2      shut the door, and now we have to breach.                     2       A I'd love to have.
 3             So in your mind, were you thinking -- did you          3       Q So one of the things -- and I don't want to --
 4      have a thought that this individual is -- is giving an        4   when you say we would have talked about fighting with the
 5      indication, at least to me, that he's going to act out        5   court, you mean prior to the eviction?
 6      violently towards my officers? Did you think that?            6       A Yes.
 7          A I -- I thought he was going to act out or do            7       Q Are you talking the day of the eviction, try to
 8      something, yes. But not violent -- I don't know that he's     8   talk to him?
 9      going to be violent. I mean, all of a sudden, he make         9       A Prior to the eviction.
10      come out and say, All right, I thought it over. I'm going    10       Q Okay.
11      to come out.                                                 11       A Gotten him to go -- go to the courthouse.
12          Q Were you aware of the risk that he was going to        12       Q And what about the operation itself? If there
13      act out violently before the decision was made to breach?    13   would be, would you do anything different with the actual
14          A Say that again.                                        14   operation itself, looking back on it now today?
15          Q Yeah. I'm sorry, that was a bad question.              15           MR. SCHIMBERG: Same objection.
16             Did you think that Martin Wirth posed a risk to       16       A You know, I think -- we wanted a peaceful
17      your sheriff deputies before breaching the residence, for    17   resolution. We wanted him to come out of the house.
18      their officer safety?                                        18   Would I have wanted -- and I sure as heck didn't want
19          A No.                                                    19   anybody to get hurt, including him.
20          Q So if the answer is no -- you said no, being           20       Q (BY MR. ELKUS) Of course not.
21      the answer is no -- why, then, have seven deputies and       21       A So would I have done anything different? Yeah.
22      fire and rescue present if you didn't think he posed a       22   Probably would have yelled on the PA more, or should have
23      risk to your officers for officer safety?                    23   yelled on the PA. I don't say "more." I should have
24          A I think just precautionary, just to make sure          24   yelled on it, to see if I could have drawn him out of the
25      nothing happens. Maybe by a show of force, he'd think        25   house, announcing that I was there. Maybe that would have

                                                                                                            67 (Pages 265 to 268)

                                              Hunter + Geist, Inc.
                                                EXHIBIT
                            scheduling@huntergeist.com    4
                                                       * 303-832-5966 * 800-525-8490
     Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 18
                                         of 19
                                  FREDRICK WILLIAM WEGENER, III - 6/8/2017
                       Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                              269                                                               271
 1      helped.                                                      1   interview statement, sir.
 2           Q Anything else?                                        2       A Okay.
 3           A It was an eviction. You know, I don't -- the          3       Q So let's start at line 17 where it says,
 4      way my officers were ambushed inside, again, it was --       4   "SHERIFF" -- this is your statement -- "There was nothing.
 5      it's an eviction.                                            5   Now, the fact that we had some folks that were SWAT
 6           Q So you still would have breached the residence?       6   trained that were going on this, yes, that's correct, we
 7           A Yeah. I might have used different tactics, but        7   did, but this was -- because I didn't want this to seem
 8      that's --                                                    8   like that. I didn't want to make it seem like we're -- we
 9           Q What different tactics would you have used?           9   were this overpowering force was going up there on an
10           A A shield, definitely would have had a shield,        10   eviction. No. We were going to go up there, but we knew
11      which would have helped. And I might have used a flash      11   what he was capable of."
12      bang, some sort of distractionary [sic] device.             12          Do you see that?
13           Q And was that equipment that was available to         13       A Yes.
14      your officers--                                             14       Q I just want to understand this. So you didn't
15           A Yes.                                                 15   want to deploy SWAT because you didn't want to do an
16           Q -- on February 24th, 2016?                           16   overpowering force?
17           A Yes.                                                 17       A Correct.
18           Q And did anybody bring that equipment with them       18       Q But yet seven officers and fire and rescue, in
19      to the scene?                                               19   your opinion, was not an overpowering force?
20           A I don't know.                                        20       A No.
21           Q Let's go back to your interview statement,           21       Q Not for an eviction?
22      Sheriff. I think that was 7. All right. Let's go to         22       A Correct, correct.
23      page 11 here, Sheriff.                                      23       Q Okay. And then you said, "No. We were going
24           A Okay.                                                24   up there, but we knew what he was capable of." So what
25           Q Now, at some point SWAT was called out to the        25   did you know he was capable of?


                                                              270                                                               272
 1     residence; is that right?                                     1        A We knew he would, you know, run. We knew he'd
 2         A Yes.                                                    2   fight.
 3         Q They were?                                              3        Q When you say we knew he was going to fight, how
 4         A They were.                                              4   did you think he was going to fight you guys? With hands?
 5         Q When were they called out?                              5        A Hands.
 6         A Afterwards.                                             6        Q Guns? Bats? What did you think he was going
 7         Q Why is that?                                            7   to fight you with?
 8         A Well, he left the residence, and he came out            8        A Yeah, whatever.
 9     that -- when he came out the door, I started worrying         9        Q Whatever. So you knew that he was going to put
10     about why did he create all that gunfire and then leave.     10   up a fight to some degree?
11     So I was concerned about maybe being some sort of and        11        A Yeah. I mean, obviously, he did three weeks
12     explosive device maybe being left inside the house.          12   prior.
13         Q And how many SWAT officers deployed? Do you            13        Q All right. But you didn't know to what extent
14     know?                                                        14   he was going to do something?
15         A No, I don't.                                           15        A Correct.
16         Q Okay. Now, why didn't the Park County                  16        Q Right. But you know that he did pose a danger
17     Sheriff's Office deploy a SWAT team when Mr. Wirth went      17   to you and your officers?
18     into the residence?                                          18        A We knew he was capable of doing something.
19         A When he went into the residence?                       19        Q Well, when you say "doing something," doing
20         Q Yeah.                                                  20   something to your officers?
21             MR. SCHIMBERG: Object to form. Foundation.           21        A Correct. Correct, yeah.
22             Go ahead.                                            22        Q And that could be dangerous to your officers,
23         A Well, like I said earlier, because at that time        23   right?
24     we didn't have any indication he was going to do anything.   24        A Everything is dangerous. Walking across the
25         Q (BY MR. ELKUS) Let's turn to page 13 of your           25   street is dangerous.

                                                                                                            68 (Pages 269 to 272)

                                              Hunter + Geist, Inc.
                                                EXHIBIT
                            scheduling@huntergeist.com    4
                                                       * 303-832-5966 * 800-525-8490
Case No. 1:16-cv-03079-MSK-NRN Document 60-4 filed 05/04/18 USDC Colorado pg 19
                                     of 19 WEGENER, III
                        FREDRICK WILLIAM

                                                                     323




                            REPORTER'S CERTIFICATE

     STATE OF COLORADO             )
                                   )   ss.
     COUNTY OF ADAMS               )

                    I, SHAUNA T. DIETEL, Registered
     Professional Reporter, and Notary Public, State of
     Colorado, do hereby certify that previous to the
     commencement of the examination, the said FREDRICK WILLIAM
     WEGENER, III was duly sworn by me to testify to the truth
     in relation to the matters in controversy between the
     parties hereto; that the said deposition was taken in
     machine shorthand by me at the time and place aforesaid
     and was thereafter reduced to typewritten form; that the
     foregoing is a true transcript of the questions asked,
     testimony given, and proceedings had.

                    I further certify that I am not employed
     by, related to, nor of counsel for any of the parties
     herein, nor otherwise interested in the outcome of this
     litigation.

                    IN WITNESS WHEREOF, I have affixed my
     signature this 19th day of June, 2017.

                      My commission expires October 5, 2017.


     _XXX_   Reading and Signing was requested.

     _____   Reading and Signing was waived.

     _____   Reading and Signing is not required.




                                  EXHIBIT 4
